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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISIO N

UNITED STATES OF AMERIC A                          INDICTMENT NO.           CR205-37 1

V.                                                 VIO : 21 U .S.C. § 846
                                                          Conspiracy to Distribute 5 ograms
JOSE REYES VILLALOBOS,                                    or More of Cocaine Hydrochloride
ROMAN GUERRA,                                             (Powder) and 1000 Kilogr ms or
JOSE VARGAS,                                              More of Marijuan a
ANGEL MORFIN,
JOAQUIN MEJIA,                                             18 U.S.C . § 2
SUZANNA CARRISOSA,                                         Aiding and Abettin g
LAURA DAVENPORT,
BRIDGETTE REYNOLDS,
JEREMY THOMPSON ,
ALMA MARIE WILLIAMS, and
KATHERINE CRAPPS


                                           ORDER


       Upon motion of the United States , it is ORDERED that indictment referenced aboi   and any

accompanying documentation be unsealed , effective August 23, 2005 .


                          l r
              This       / day of August , 2005 . AIWV--




                                              NORABLE JAMES E . GRAHAM
                                               TED STATES MAGISTRATE JUD G
                                             OUTHERN DISTRICT OF GEORGIA
